                         NUMBER 13-23-00420-CV

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                    CORPUS CHRISTI – EDINBURG


WELDER EXPLORATION &amp;
PRODUCTION, INC.,                                                         Appellant,

                                          v.

CACTUS COMPRESSION, INC.,                                                  Appellee.


             ON APPEAL FROM THE 36TH DISTRICT COURT
                     OF BEE COUNTY, TEXAS


                         MEMORANDUM OPINION

    Before Chief Justice Contreras and Justices Tijerina and Peña
               Memorandum Opinion by Justice Peña
      This matter is before the Court on appellant’s unopposed motion to dismiss appeal.

Appellant requests dismissal stating that the parties have resolved this matter by

agreement.
      The Court, having considered appellant’s motion, is of the opinion that the motion

should be granted. See TEX. R. APP. P. 42.1(a)(1) (allowing the Court to “dismiss the

appeal or affirm the appealed judgment or order unless such disposition would prevent a

party from seeking relief to which it would otherwise be entitled”). Accordingly, we grant

the unopposed motion to dismiss, and we dismiss the appeal. In accordance with the

motion to dismiss, each party will bear its own costs. See id. R. 42.1(d). Because the

appeal is dismissed at appellant’s request, no motion for rehearing will be entertained.

                                                              L. ARON PEÑA JR.
                                                              Justice


Delivered and filed on the
22nd day of August, 2024.




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